AO 399 (01/09) Waiver of the Service of Sttmmons




                                      United States District Court
                                                                        for the
                                                            Eastern District of Texas


                       Timothy Jackson
                                                                             )
                              Plaintiff
                                                                             )
                                 v.                                          )    Civil Action No. 4:21 -cv-00033
                      Laura Wright, et al.                                   )
                             Defendant                                       )

                                             WAIVER OF THE SERVICE OF SUMMONS


To:     Jonathan F. Mitchell
             (Name of the plaintiff's attorney or unrepresented plaintiff)


        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I. or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

          I understand that I. or the entity I represent will keep all defenses or objections to the lawsuit the court's
jurisdiction, and the venue of the action, but that 1 waive any objections to the absence of a summons or of service

          I also understand that I, or rhe entity 1 represent, must file and serve an answer or a motion under Rule 12 within
60 days from                    01/14/2021                  , rhe date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity' I represent.


IDate     January 21, 2021
                                                                                    Matthew Bohuslav                    Digitally signed by Matthew Bohuslav
                                                                                                                        Date: 2021.02.05 14:37:19 -06'00'
                                                                                             Signature ofthe attorney or unrepresentedparty

        4nJ,                                       <y

        Printed name ofparty waiving service ofsummons
                                                        Let m                                           Matthew Bohuslav
                                                                                                               Printed name
                                                                                            Office of the Attorney General
                                                                                            P.O. Box 12548, Capitol Station
                                                                                            Austin, TX 78711
                                                                                                                  Address

                                                                                            matthew.bohuslav@oag.texas.gov

                                                                                                               E-mail address

                                                                                                           512.475.4099
                                                                                                             Telephone number


                                           Duly to Avoid 'Unnecessary Expenses of Serving a Snanaons


          Rule 4 ofthe Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
die United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure

           '"Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over' the defendant or the defendant's property.

        If the waiver is signed and returned, you can still make these and ah other defenses and objections, but yon cannot object to the absence of
a summons or of service.


           Ifyou waive service, thai you must within the time specified on the waiver form, serve an answer or a motion under Rule 1 2 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, yon are allowed more time to respond than if a summons had been served.




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